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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF INDIANA
                                HAMMOND DIVISION

UNITED STATES OF AMERICA

              Plaintiff,

v.                                         CASE NUMBER: 2:05-CR-25

JEROME GARDNER

              Defendant.

                                      APPEARANCE

To the Clerk of this court and all parties of record:

      I, the below-signed, state that I have read the Standards for Professional Conduct
within the Seventh Federal Judicial Circuit pursuant to N.D. Ind. L.R. 83.5(g) and
appendix B-65-B-70 of this Court and will faithfully adhere to them. I declare under
penalty of perjury that the foregoing is true and correct.

       Enter my appearance as counsel in this case for JEROME GARDNER.

Date: February 28, 2019

                                           Respectfully submitted,

                                           Northern District of Indiana
                                           Federal Community Defenders, Inc.

                                           By:    s/ Jerome T. Flynn
                                                  Jerome T. Flynn
                                                  2929 Carlson Drive Suite 101
                                                  Hammond, IN 46323
                                                  Phone: (219) 937-8020
                                                  Fax: (219) 937-8021
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                             CERTIFICATE OF SERVICE

I hereby certify that, on February 28, 2019, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which sent notification of such filing to all
parties of record.

                                         s/ Jerome T. Flynn




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